         Case 2:20-cr-00135-DWA Document 21 Filed 07/13/20 Page 1 of 3




                       UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF PENNSYLVANIA



UNITED STATES OF AMERICA,                   )       No. 20-135
                                            )
              vs.                           )       Filed Electronically
                                            )
MATTHEW MICHANOWICZ,                        )
                                            )       The Honorable Maureen Kelly
              Defendant.                    )       United States Magistrate Judge


  DEFENDANT’S OPPOSITION TO GOVERNMENT’S MOTION FOR DETENTION
                    AND PROPOSAL FOR RELEASE

        AND NOW, comes the Defendant, Matthew Michanowicz, by and through his attorney,

Kenneth J. Haber, Esquire and the law firm of Difenderfer, Rothman & Haber, and files this

Response in Opposition to the Government’s Motion for Detention, as follows:

   1.      Defendant is a 52-year-old man with no criminal convictions.

   2.      Defendant is a lifelong resident of Allegheny County, who was born and raised in Fox

           Chapel and graduated from Fox Chapel High School.

   3.      Defendant attended Wooster College and the University of Pittsburgh, earning over

           130 credits.

   4.      Defendant has worked in the medical supply sales field for most of the last 20 years,

           selling neurological surgical equipment and instructing neurosurgeons as to their

           proper usage.

   5.      In recent years, Defendant developed an addiction to opiates. He was found in unlawful

           possession of heroin and sentenced to probation without verdict. His record was

           expunged.
     Case 2:20-cr-00135-DWA Document 21 Filed 07/13/20 Page 2 of 3




6.    The arrest was a wake-up call for Defendant. He voluntarily sought treatment, checked

      himself into an in-patient rehabilitation facility in Florida, and successfully completed

      the program.

7.    Defendant’s after-care program has consisted of daily AA meetings and a monthly shot

      of vivitrol. The shot removes all desire or cravings to ingest opiates or alcohol, and

      consumption of either results in illness. Defendant has remained opiate and alcohol free

      since his release from the rehabilitation center, for over 18 months.

8.    The Covid-19 crisis has been a difficult time for virtually every American but it has

      been particularly difficult for Defendant. In the span of the last 18 months, Defendant

      went through a divorce with his wife of 17 years, lost his father who passed away in

      February of this year and ceased working in the medical supply business due to the

      stresses of the job.

9.    Following Defendant’s arrest in the instant case, he underwent a behavior clinic

      evaluation at the Allegheny County Jail. Although the report remains confidential and

      in the possession of the Pretrial service unit of the Allegheny County Court of Common

      Pleas, the conclusions and recommendations of release are known to the parties

      pursuant to information gathered by federal pretrial probation officer P. Spicuzza and

      shared in an email with all parties. The psychiatrist who conducted the evaluation found

      Mr. Michanowicz competent to stand trial, and made the following recommendations

      of release from jail:

      a. Out-patient mental health treatment,

      b. Out-patient drug and alcohol treatment,

      c. Abstain from the use of drugs and alcohol, and
         Case 2:20-cr-00135-DWA Document 21 Filed 07/13/20 Page 3 of 3




           d. No possession of or access to firearms.

   10.     Defendant accepts all of the conditions proposed by the Allegheny County mental

           health professional, and promises to abide by them. In addition, Defendant would agree

           to abide by additional conditions, including but not limited to the following:

           a. Attend daily AA meetings,

           b. Receive a vivitrol shot once a month or as directed by a physician;

           c. Reside at his mother’s house, with his mother, Geraldine Michanowicz, in Fox

              Chapel, Allegheny County,

           d. Electronic monitoring by federal pretrial services.

   11.     Defendant maintains that he is not a danger to the community nor is he a flight risk. To

           the extent this Court has concerns as to either of these factors, the conditions proposed

           above, that defendant agrees to fully abide by, would eliminate any risk however slight.



   WHEREFORE, it is respectfully requested that this Court deny the government’s motion for

detention, and release Defendant from the Allegheny County Jail, with conditions.

                                             Respectfully submitted,

                                              /s/ Kenneth J. Haber
                                             Kenneth J. Haber, Esquire
                                             PA I.D. No. 65968

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Dated: July 13, 2020                         Attorney for Defendant Matthew Michanowicz
